                                     Case 18-11342             Doc        Filed 07/10/19         Page 1 of 6
 Fill in this information to identify the case:

 Debtor 1           Thomas    McBride
                    __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: District of Maryland
                                         __________    District of __________

 Case number           18-11342
                       ___________________________________________




               l              410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: US BANK TRUST NA,
                   _______________________________________                                                      3-1
                                                                                    Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                             Date of payment change:
 identify the debtor’s account:                          8 ____
                                                        ____ 5 ____
                                                                3 ____
                                                                    8               Must be at least 21 days after date       08/01/2019
                                                                                                                              _____________
                                                                                    of this notice


                                                                                    New total payment:                              1,212.41
                                                                                                                              $ ____________
                                                                                    Principal, interest, and escrow, if any

 Part 1:           Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                      374.28
                    Current escrow payment: $ _______________                     New escrow payment:                   360.04
                                                                                                              $ _______________


 Part 2:           Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:       _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:           Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                    Reason for change: ___________________________________________________________________________________

                    Current mortgage payment: $ _______________                   New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                            page 1
                                      Case 18-11342                      Doc         Filed 07/10/19          Page 2 of 6


Debtor 1         Thomas     McBride
                 _______________________________________________________                                             18-11342
                                                                                                 Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û/S/ Michelle R. Ghidotti-Gonsalves
     _____________________________________________________________
     Signature
                                                                                                 Date     07/10/2019
                                                                                                          ___________________




 Print:             Michelle  R. Ghidotti-Gonsalves, Esq
                    _________________________________________________________                    Title   Authorized     Agent for Secured Creditor
                                                                                                          ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920  Old Tustin Avenue
                    _________________________________________________________
                    Number                 Street

                    Santa Ana                        CA     92705
                    ___________________________________________________
                    City                                                 State        ZIP Code



 Contact phone      9494272010
                    ________________________                                                             bknotifications@ghidottiberger.com
                                                                                                 Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                            page 2
                             Case 18-11342   Doc     Filed 07/10/19   Page 3 of 6




NEW PAYMENT EFFECTIVE 08/01/2019                   $1,212.41
                              Case 18-11342         Doc   Filed 07/10/19   Page 4 of 6




    __________   __________   __________   __________
         $0.00    $1,157.81        $0.00    $1,062.00




.
.
.

.
.
.
                      Case 18-11342        Doc     Filed 07/10/19     Page 5 of 6



     Michelle R. Ghidotti-Gonsalves, Esq.
 1   GHIDOTTI | BERGER
 2   1920 Old Tustin Ave.
     Santa Ana, CA 92705
 4   Ph: (949) 427-2010
     Fax: (949) 427-2732
 5   bknotifications@ghidottiberger.com
 6
     Authorized Agent for Creditor
 7   US Bank Trust NA, as Trustee of the Lodge Series III Trust
 8                             UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MARYLAND
 9
10   In Re:                                               )   CASE NO.: 18-11342
11                                                        )
     Thomas McBride                                       )
          Debtors.
12                                                        )   CHAPTER 13
                                                          )
13                                                        )   CERTIFICATE OF SERVICE
                                                          )
14
                                                          )
15                                                        )
                                                          )
16                                                        )
17                                                        )
                                                          )
18
19                                    CERTIFICATE OF SERVICE
20
21            I am employed in the County of Dade, State of Florida. I am over the age of

22   eighteen and not a party to the within action. My business address is: 3050 Biscayne Blvd., Ste

23   402, Miami, FL 33137

24
              I am readily familiar with the business’s practice for collection and processing of
25
26
     correspondence for mailing with the United States Postal Service; such correspondence would

27   be deposited with the United States Postal Service the same day of deposit in the ordinary
     course of business.
28




                                                      1
                                       CERTIFICATE OF SERVICE
                     Case 18-11342        Doc     Filed 07/10/19     Page 6 of 6



 1
     On July 10, 2019 I served the following documents described as:
 2
                    Notice of Payment Change
 3
 4 on the interested parties in this action by placing a true and correct copy thereof in a sealed
 5 envelope addressed as follows:
 6 (Via United States Mail)
 7
 8 Debtor                                             Debtor’s Counsel
   Thomas McBride                                     David H. Sandler
 9 6008 Walton Avenue                                 8401 Corporate Dr.
    Suitland, MD 20746                                Ste. 620
10                                                    Landover, MD 20785
11 Trustee
   Nancy Spencer Grigsby
12 185 Admiral Cochrane Dr.
   Suite 240
13 Annapolis, MD 21401
14
15
16
17   _xx (By First Class Mail) At my business address, I placed such envelope for deposit with
     the United States Postal Service by placing them for collection and mailing on that date
18
     following ordinary business practices.
19
            Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
20   Eastern District of California
21
      xx_(Federal) I declare under penalty of perjury under the laws of the United States of
22   America that the foregoing is true and correct.
23          Executed on July 10, 2019 at Miami, FL
24
     /s / Angelica Reyes
25   Angelica Reyes
26
27
28
